           Case 2:19-cv-01433-GMN-VCF Document 14 Filed 11/05/20 Page 1 of 1




1                                        UNITED STATES DISTRICT COURT

2                                            DISTRICT OF NEVADA

3                                                        ***
      ELLY MARTINEZ,
4
                            Plaintiff,
5                                                           2:19-cv-01433-GMN-VCF
      vs.                                                   ORDER
6     MICHAEL MINEV,
7                           Defendant.
8           The court has been informed that Plaintiff is no longer incarcerated.
9           Under LR IA 3-1, an attorney or pro se party must immediately file with the court written
10   notification of any change of mailing address, email address, telephone number, or facsimile number. The
11   notification must include proof of service on each opposing party or the party’s attorney. Failure to comply
12   with this rule may result in the dismissal of the action, entry of default judgment, or other sanctions as
13   deemed appropriate by the court.
14          Accordingly, IT IS HEREBY ORDERED that Plaintiff Elly Martinez must file with the court a
15   written notification of her new mailing address, email address, telephone number, or facsimile
16   number, on or before November 30, 2020.
17          IT IS FURTHER ORDERED that the Inmate Early Mediation scheduled for November 6, 2020,
18   is VACATED.
19          DATED this 5th day of November, 2020.
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                                                                  CAM FERENBACH
21                                                                UNITED STATES MAGISTRATE JUDGE

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